

People v Hasan (2021 NY Slip Op 02715)





People v Hasan


2021 NY Slip Op 02715


Decided on April 30, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 30, 2021

PRESENT: WHALEN, P.J., CENTRA, LINDLEY, NEMOYER, AND TROUTMAN, JJ. (Filed Apr. 30, 2021.) 


MOTION NO. (965/18) KA 17-00763.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vHAITHEM HASAN, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








